













NUMBER 13-09-00098-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


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IN THE INTEREST OF M.S., A CHILD

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On appeal from the 25th District Court 


of Gonzales County, Texas.


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MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Garza


Memorandum Opinion Per Curiam	


	The appellant's brief in the above cause was due on September 28, 2009.  On
October 5, 2009, the Clerk of the Court notified appellant that the brief had not been timely
filed and that the appeal was subject to dismissal for want of prosecution under Texas Rule
of Appellate Procedure 38.8(a)(1), unless within ten days from the date of receipt of this
letter, appellant reasonably explained the failure and the appellee was not significantly
injured by the appellant's failure to timely file a brief.  To date, no response has been
received from appellant.  

	Appellant has failed to either reasonably explain his failure to file a brief, file a
motion for extension of time to file his brief, or file his brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 

							PER CURIAM


Memorandum Opinion delivered 

and filed this the 5th day of November, 2009. 





	


